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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 12-21109-ClV-O’SULLIVAN

 

ENRIQUE PUYANA MANTILLA
Plaintiff,
DECLARATION OF
v. KATHERINE L. MYRICK
DRUG ENFORCEMENT
ADMINISTRATION

UNITED STATES DEPARTMENT OF STATE,
HILLARY RODHAM CLINTON, Secretary of State,
ERIC H. HOLDER, JR., United States Attorney
General, WIFREDO A. FERRER, United States
Attorney, Southern District of Florida,

Defendants.

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l. ' l am currently assigned as the Chief of the Freedom of Information (FOI)/Privacy Act Unit,
FOl/Records Management Section (SARF), Drug Enforcement Administration (DEA), United
States Department of Justice (DOJ), located at DEA Headquarters in Arlington, Virginia. 1 have
served in this capacity since 1998 and oversee the processing of requests to DEA under the
Freedom of Infonnation Act (FOIA), 5 U.S.C. § 552; and the Privacy Act ‘(PA) of 1974, 5 U.S.C.
§ 552a. SARF is the central DEA office responsible for responding to, searching for, and

processing and releasing DEA information requested under the FOIA and PA.

2. Due to my experience in responding to requests for DEA records since 1998, and the nature
of my official duties, I am familiar with the policies and practices of the DEA and DOJ related to
searching for, processing, and releasing DEA information responsive to FOIA and PA requests
and, in particular, l am familiar With the processing of DEA’s information contained in the U.S.

Department of State’s (DOS) records that is the basis of this filing

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3. ln.preparing this declaration, l have read and am familiar with the Court’s Order to Deny the
Defendants’ Motion for Summary Judgment, dated September 24, 2012, for the above titled
action. The statements l make hereinafter are made on the basis of my own personal knowledge,
review of DEA records, review of DGS records referred to DEA, and information acquired by me

in the performance of my official duties as Chief, SARF.

4. The purpose of this declaration is to provide the Court with a description of DEA
information contained in DOS’s records that are the subject of this litigation and to identify and

provide the Court with explanations as to DEA’s application of FOlA exemptions

SUMMARY OF CORRESPONDENCE AND ADMINISTRATIVE ACTION

5. On October 4, 2012_, DEA was first informed of the present FOIA litigation and associated
FOIA request via a telephone call from a DOS attorney to a DEA attorney. On that same day,
DOS e-mailed DEA’s attorney with a copy_of the FOIA request, the Court’s September 24, 2012,
Order, and 17 pages of documents that DOS identified as containing information originating with

DEA.

6. By email dated October 5, 2012, DEA informed DOS that it had reviewed the pertinent
documents and marked them for redaction of DEA information based on the applicable FOIA
exemptions Specifically, DEA informed DOS that it Was asserting FOIA exemptions (7)(A),
(7)(C), (7)(D), and (7)(E) with respect to DEA information compiled under the Comprehensive
Drug Abuse Prevention and Control Act of 1970, codified at 21 U.S.C. §§ 801,' et. seq., which
authorizes DEA to investigate incidences of the trafficking of controlled substances, dangerous

drugs, and precursor chemicals

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7. By motion dated October 9, 2012, the government filed “Defendant’s Motion for
Reconsideration and for Leave to File Supplemental Motion and Supporting Declaration”

requesting leave from the court to belatedly assert FOlA exemptions (7)(A), (7)(C), (7)(D), and
(7)(E)-

8. By motion dated October 11, 2012, the government filed “Defendant’s Motion to File
Records Under Seal” requesting that copies of Documents Vl , V2, V3, and V7, which contain
DEAis designation of DEA information subject to FOIA exemptions (7)(A), (7)(C), (7)(D), and

(7)(E), be filed under seal for in camera review.

9. ln sum, DEA processed a total of 17 pages of responsive records provided by the DOS
with 9 pages containing DEA’s proposed redactions, pursuant to FOIA exemptions (7)(A),
(7)(C), (7)(D), and (7)(E). All responsive pages were examined to determine whether any

reasonably segregable information could be released.
DESCRIPTI()N OF MATERIALS WITHHELD

lO. The DEA asserts FOIA exemptions (7)(A), (7)(C), (7)(D), and (7)(E), 5 U.S.C. §§ 552
(b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E), With respect to information withheld in part. A

detailed Vaughn Index accounting for all of the proposed withholdings is attached as Exhibit A.

ll. All information withheld originated from open and active DEA law enforcement
investigative files, which contain information gathered during the course of DEA investigations
The information relevant to this suit includes: (a) criminal investigative information; (b) internal
DEA numbers used in criminal investigations; (c) criminal investigation dates; and (d)

information from a confidential source.

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JUSTIFICATION FOR WITHHOLDING AND APPLICATION OF EXEMPTIONS

Records or Information Compiled for Law Enforcement Purposes
Exemption (b)(7) Threshold
l2. The Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. § 801 , et
seq. (hereinafter, the Act) authorizes DEA to investigate incidences involving the trafficking in
controlled substances, dangerous drugs, and precursor chemicals, including the importation and
exportation of such materials Consistent with carrying out this mission, DEA cooperates with
counterpart agencies domestically and abroad to exchange information in support of drug traffic

prevention and control.

13. DOS records responsive to the Plaintiff’s request contain information obtained from
DEA’s active criminal investigative files, which were compiled pursuant to DEA’s law
enforcement authority under the Act.‘ These records contain information pertaining to three

active criminal law enforcement investigations

Exemption (b)(7)(A) - Interference with Enforcement Proceedings
14. 5 U.S.C. § 552 (b)(7)(A) Sets forth an exemption for records or information compiled for
law enforcement purposes, the disclosure of Which could reasonably be expected to interfere with
enforcement proceedings The three DEA law enforcement investigations that provide the basis
for the criminal investigative information that was provided to DOS, and which was incorporated
into DOS’s responsive documents, remain open and active. The open and active case status for
these investigations is reflected in DEA’s criminal investigative records filing system and was
confirmed by the DEA Special Agents who oversee the three respective law enforcement

investigations

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15. The three investigative files that provided the basis for the criminal investigative
information contained in the responsive documents remain open. Two of the investigations
remain actively under investigation and one investigation is pending judicial proceedings
Disclosure of any of the details from these case files would reveal the scope, direction, nature,
and pace of the investigations as well as information that could harm the government’s potential
prosecution or other enforcement actions currently under consideration in these matters If the
information is released, the individuals and/or entities, who are of investigative interest to DEA,
could use the information to develop alibis, create fictitious defenses, or intimidate, harass, or
harm potential witnesses For this reason, information contained in the responsive documents
provided by DOS should be withheld under exemption (b)(7)(A). Nine (9) pages of responsive
documents are subject to exemption (b)(7)(A). Exemption (7)(A) is asserted for DEA l

information contained in Pages 1-7, 15, and 16.1

Exemption (b)(7)(C) ~ Invasion of Privacv
16. 5 U.S.C. § 552 (b)(7)(C) sets forth an exemption for records or information compiled for
law enforcement purposes, the disclosure of which could reasonably be expected to constitute an
unwarranted invasion of personal privacy. Exemption (b)(7)(C) requires the balancing of an
individual’s right to personal privacy against the public’s interest in shedding light on an
agency’s performance of its statutory duties The requestor’s identity, purpose in making the

request, and proposed use of the requested information have no bearing on this balancing test.

17. Inforrnation contained in one (1) page of DOS’s responsive documents contains an
individual’s name, which would reveal the identity of an individual who is involved or associated
with these investigations This individual is a third-party whose identity is protected from

disclosure

 

1The page numbers referred to herein are those indicated at the bottom center of each of
the documents containing DEA’s designation of withheld information and submitted to the Court
on October 11, 2012
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18. In making the determination to withhold this information, the individual’s privacy interests
were balanced against any discernible public interest in disclosure of the individual’s identity. In
this instance, the Plaintiff provided no facts for which any potential public interest would
outweigh the privacy interests of the individual. Thus, disclosure of the identity would be an

unwarranted invasion of this individual’s personal privacy.

19. In asserting this exemption, each piece of information was examined to determine the
degree and nature of the privacy interest of the individual whose name appears in DOS’s
responsive documents The public interest in disclosure of the information was determined by
whether the information in question would inform the Plaintiff or the general public about DEA’s
performance of its mission to enforce Federal criminal statutes and the Controlled Substance Act,
and/or how DEA conducts its internal operations and investigations ln this case, it was
determined that there was no legitimate public interest in the information DEA seeks to withhold
under exemption (b)(7)(C) and the Plaintiff has not articulated any legitimate public interest for
the information Further, release of any information about the individual associated with the
investigation would lead to potential harassment and humiliation because of the inclusion of the
information in a law enforcement investigatory file. Thereby, disclosure of the requested
information would constitute an unwarranted invasion of the individual’s personal privacy

interests

20. lnformation withheld under exemption (b)(7)(C) is itemized in the attached Vaughn Index
at Exhibit A. The page, withheld in part, contains an individual’s name, which would reveal the
identity of a third~party individual who was involved or associated with DEA’s criminal
investigations As such, exemption (b)(7)(C), along with (b)(7)(A), is asserted for DEA

information contained in Page 3.

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Exemption (b)(7)(D) - Confidential Sources
21. 5 U.S.C. § 552 (b)(7)(D) sets forth an exemption for the information compiled for law
enforcement purposes the disclosure of which could reasonably be expected to reveal the
identity cfa confidential source and/or information furnished by a confidential source. As
reflected in Exhibit A, exemption (b)(7)(D) was employed to withhold investigative information
because it contains information that was provided by a source of information, to whom, based

upon the facts and circumstances confidentiality has been assured.

22. Inforrnation is withheld under exemption (b)(7)(D) because disclosure would reveal the
existence and identity of a confidential source and information furnished by a confidential
source. Exemption (b)(7)(D) is asserted for portions of three (3) pages contained in DOS’s
responsive documents withheld under exemption (b)(7)(A). As such, exemption (b)(7)(D) is

asserted for DEA information contained in Pages 3, 5, and 15.

Exemption (b)(7)(E) - Law Enforcement Techniques and Procedures
23. 5 U.S.C. § 552(b)(7)(E) sets forth an exemption for records or information compiled for
law enforcement purposes if release would disclose techniques and procedures for law
enforcement investigations or prosecutions or would disclose guidelines for law enforcement
investigations or prosecutions to the extent that such disclosure could reasonably be expected to

risk circumvention of the law.

24. lnforrnation withheld under exemption (b)(7)(E) includes law enforcement practices
procedures and guidelines used by DEA Special Agents, agency personnel, and other law
enforcement officers in the course of investigations These investigative reporting procedures
include the identification of violators by assigned NADDIS number. NADDIS numbers are part
of DEA's internal system of developing criminal activity information/intelligence and identifying

individual violators These numbers may also identify individuals who are third-party witnesses

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or other sources of information As these numbers relate solely to internal DEA investigative

procedures there is no public interest in the release of such information

25 . NADDIS numbers are multi-digit numbers assigned to drug violators and suspected drug
violators known to the DEA and entities that are of investigative interest. Each number is unique
and is assigned to only one violator within the DEA NADDIS indices~. Disclosure ofNADDIS
numbers alone, or in concert with other known investigative information, could allow violators to
avoid apprehension and could place law enforcement personnel or informants in danger.
Disclosure of this number would enhance violator awareness of DEA investigative efforts via
identification of targeted individuals or entities thus enabling them to change behavior, develop

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counterineasures, or evade detection and/or apprehension efforts

26. Exemption (b)(7)(E) is asserted for DEA information contained in 9 pages of DOS’s
responsive documents Exemption (b)(7)(E), as well as (b)(7)(A), is asserted for DEA
information contained in Pages 1-7, 15, and 16. lnforrnation withheld under exemption (b)(7)(E)

are itemized in the attached Vaughn Index at Exhibit A.

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I declare under the penalty of perjury that the foregoing is true and correct.

 

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DATE Katherine L. Myrick
Chief, FOI/Privacy Act Unit
FOI/Records Management Section
Drug Enforcement Administration

Arlington, VA 22202

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